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 6   Attorney for Defendant,
     ANDREW CONWAY
 7

 8                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                          CASE NO. CR-06-00476 MCE
11

12
                  Plaintiff,                            STIPULATION AND ORDER

13          vs.                                         DATE: August 28, 2008
                                                        TIME: 9:00 AM
14   ANDREW CONWAY,                                     JUDGE: Hon. Morrison England

15                Defendant.

16

17            It is hereby stipulated and agreed to between the United States of America through Jason
18   Hitt, Assistant U.S. Attorney, and defendant Andrew Conway, by and through his attorney, Dan
19
     Koukol, that the status conference of August 28, 2008 be vacated and that a status conference be
20
     set for October 30, 2008 at 9:00 AM.
21
              This continuance is being requested because the parties need additional time to discuss
22
     the case with the government and negotiate plea agreements.
23
     //
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     //
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     //

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 1   The parties request that the speedy trial time is excluded from the date of this order through the

 2   date of the status conference set for October 30, 2008 at 9:00 AM pursuant to 18 U.S.C. §
 3
     3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).
 4

 5

 6   DATED: AUGUST 26, 2008               Respectfully submitted,

 7
                                          /s/ DAN KOUKOL
 8                                        _________________________________
                                          DAN KOUKOL
 9
                                          Attorney for defendant Andrew Conway
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11
     DATED: AUGUST 26, 2008               Respectfully submitted,
12

13                                        /s/ DAN KOUKOL FOR
                                          _________________________________
14                                        Jason Hitt
                                          Assistant U.S. Attorney
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16
     IT IS SO ORDERED
     DATED: September 2, 2008
17

18
                                      __________________________________
                                      MORRISON C. ENGLAND, JR
19                                    UNITED STATES DISTRICT JUDGE

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